          CASE 0:21-cv-00990-ECT-LIB Doc. 65 Filed 09/24/21 Page 1 of 19




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


                                                   Case No. 0:21-cv-00990-ECT-LIB
    CLARENCE LOZOYA,

                        Plaintiff,
                                                PLAINTIFF CLARENCE LOZOYA’S
    v.                                           MEMORANDUM IN OPPOSITION
                                                    TO DEFENDANT CITY OF
    CITY OF CLOQUET ET AL.,                     CLOQUET’S MOTION TO DISMISS

                       Defendants.



         Defendants City of Cloquet and Carey Ferrell (“City Defendants”) ask the Court to

dismiss Plaintiff’s Complaint1 without discovery by relying upon factual assertions

contrary to the facts alleged in the Complaint and by ignoring the theories of liability

pleaded in the Complaint. Fed. R. Civ. P. 12(b)(6) does not permit either approach.

Defendants’ opportunity to present factual assertions contrary to the allegations in the

Complaint comes after discovery, not now, and Defendants must face the claims actually

brought by Plaintiff. Defendants’ motion should be denied.

                        ALLEGATIONS OF THE COMPLAINT

         On or about December 5, 2016, Plaintiff Clarence Lozoya was arrested by City of

Cloquet police officer Scott Beckman, and was later charged with two felonies. Compl.




1
 Unless otherwise required by context, “Complaint” in this Memorandum refers to both
Plaintiff’s filed Complaint, ECF #1, and the Proposed Amended Complaint, ECF #56-1.
         CASE 0:21-cv-00990-ECT-LIB Doc. 65 Filed 09/24/21 Page 2 of 19




¶ 11 (ECF #1); Proposed Am. Compl. ¶ 10 (ECF #56-1). Beckman had a prior history and

pattern of serious misconduct, including a) violations of the Cloquet Police Department’s

rules, b) conduct unbecoming an officer, c) immoral conduct, and d) false reporting of

information in effectuating an arrest and obtaining a search warrant. Compl. ¶ 12; Proposed

Am. Compl. ¶ 11.

        On December 8, 2016, the public defender representing Lozoya demanded that the

County disclose any Brady material or information. Proposed Am. Compl. ¶ 13.

        Beckman’s misconduct was not disclosed to Lozoya or his public defender, but

rather was suppressed by the County. Compl. ¶ 13; Proposed Am. Compl. ¶ 14.

“[K]nowing it had Brady/Giglio evidence in its possession which it suppressed,” the

County offered Lozoya a plea deal to settle the criminal charges, which Lozoya accepted

rather than face the risk of a longer sentence if convicted at trial. Compl. ¶ 15; see Proposed

Am. Compl. ¶ 21. Lozoya was sentenced to prison. Compl. ¶ 15; Proposed Am. Compl.

¶ 21.

        On June 28, 2016, Carlton County Attorney Thomas Pertler had sent a letter

acknowledging his purpose and intent to prevent criminal defendants from learning of

Beckman’s misconduct, the obligation to disclose Brady information, and his decision to

implement a policy of suppressing the information about Beckman’s misconduct.

Proposed Am. Compl. ¶¶ 16, 18-19. The letter recognized that once one defense attorney

learned of Beckman’s misconduct, the news would quickly spread to all of them and

present problems for criminal prosecutions. Id. ¶ 16. The City Defendants knew or should
                                              2
        CASE 0:21-cv-00990-ECT-LIB Doc. 65 Filed 09/24/21 Page 3 of 19




have known of the contents of Pertler’s letter, they knew that the information about

Beckman’s misconduct had not been disclosed, and they intentionally assisted Pertler in

suppressing the information. Proposed Am. Compl. ¶ 20.

       Lozoya’s arrest occurred in December 2016, six months after the Beckman

misconduct should have been disclosed to the criminal defense bar in Carlton County. See

Compl. ¶ 11; Proposed Am. Compl. ¶ 10. Lozoya was sentenced to prison in March 2017.

Compl. ¶ 15; Proposed Am. Compl. ¶ 21.

       Eventually, an assistant Carlton County attorney learned of Beckman’s misconduct,

causing the County to dismiss nineteen pending criminal prosecutions. Proposed Am.

Compl. ¶ 25. Pertler lost re-election in November 2018. Id. ¶ 26. In December 2018 the

Carlton County Attorney’s Office determined the information about Beckman’s

misconduct was Brady information that must be disclosed in every case in which Officer

Beckman was involved, and adopted a policy calling for consideration of police officer

misconduct to occur at the charging stage in a criminal prosecution. Id. ¶ 27. By these acts,

the County implicitly acknowledged that Plaintiff would never have been charged had

Beckman’s misconduct been previously disclosed. Id.

       In 2019 the newly elected County Attorney audited all criminal cases involving

Beckman that resulted in a conviction and dismissed eight of them. Id. ¶ 28.

       After learning of Beckman’s misconduct, Plaintiff’s public defender filed a motion

seeking to withdraw Plaintiff’s guilty plea. Compl. ¶ 16; Proposed Am. Compl. ¶ 30. The

motion, filed February 6, 2019, stated that the basis for relief was “Defendant’s counsel
                                             3
         CASE 0:21-cv-00990-ECT-LIB Doc. 65 Filed 09/24/21 Page 4 of 19




became aware the State intended to dismiss charges after discovery of a due process

violation in the form of failing to provide notice of Brady/Giglio material to Defendant.”

Proposed Am. Compl. ¶ 30. The County then filed a dismissal of the case against Plaintiff

“for the following reasons: To correct a manifest injustice.” Proposed Am. Compl. ¶ 31.

Plaintiff was released after nearly two years of incarceration. Compl. ¶ 16; Proposed Am.

Compl. ¶ 32. The County stipulated to sealing and expunging the record of Plaintiff’s

prosecution, which was granted by the court. Proposed Am. Compl. ¶ 32.

       The City Defendants knowingly and intentionally engaged in a pattern and practice

of concealing exculpatory and impeaching evidence of Beckman’s misconduct from

individuals arrested by Beckman, and engaged in these acts maliciously and with deliberate

indifference to Plaintiff’s rights. Id. ¶ 35.

                                         STANDARD

       On a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6), the Court must “accept

as true all factual allegations in the complaint and draw all reasonable inferences in favor

of the nonmoving party.” McDonough v. Anoka County, 799 F.3d 931, 945 (8th Cir. 2015).

The motion will be denied if the complaint contains “sufficient factual matter, accepted as

true, to ‘state a claim to relief that is plausible on its face’” and pleads “factual content that

allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).




                                                4
            CASE 0:21-cv-00990-ECT-LIB Doc. 65 Filed 09/24/21 Page 5 of 19




       I.       The City Defendants Impermissibly Rely upon Facts Contrary to the
                Allegations in the Complaint.

       The City Defendants rely on factual assertions contrary to or additional to the

allegations pleaded in the Complaint. This is not permissible for purposes of a motion to

dismiss. “To assess the adequacy of a complaint under Rule 12(b)(6), the Court must

consider only the well-pleaded allegations in the complaint, which it must construe in favor

of the plaintiff, and may not look to facts outside the complaint.” Haynes v. Iten, No. 17-

CV-5217, 2018 WL 3850735, at *6 (D. Minn. July 20, 2018), report and recommendation

adopted, No. CV 17-5217, 2018 WL 3848442 (D. Minn. Aug. 13, 2018).

       First, the City Defendants argue that the Complaint alleges Officer Beckman was

“declared a Brady officer” at a time “somewhere between [Plaintiff’s] own conduct on or

about December 5, 2016 and his guilty plea.” City Memo. at 2 (ECF #48); id. at 3 (“In the

interim, former Officer Beckman was investigated and disciplined”). Not so. The

Complaint alleges Beckman’s misconduct was known to the City Defendants “at the latest

by August 10, 2016” but they “continued to suppress” this information. Compl. ¶¶ 14, 16

(ECF #1).2 It is not true, contrary to the City’s suggestion, that the Complaint alleges

Beckman’s misconduct became known after Plaintiff was arrested. Rather, the Complaint




2
  The Proposed Amended Complaint alleges the City Defendants knew of Beckman’s
misconduct by June 2016 and knew or should have known of the County’s policy of
illegally suppressing that information, and intentionally assisted the County in
suppressing the information. Proposed Am. Compl. ¶¶ 16, 20 (ECF #56-1).

                                             5
        CASE 0:21-cv-00990-ECT-LIB Doc. 65 Filed 09/24/21 Page 6 of 19




alleges that the City knew about Beckman’s misconduct for months prior to the arrest, but

suppressed this information.

       Second, the City Defendants assert that the “City Defendants fulfilled their Brady

obligations by advising the prosecutor of an investigation and possible discipline relating

to Officer Beckman’s propensity for truthfulness.” City Memo. at 8 (ECF #48). The

Complaint does not allege the City Defendants fulfilled their Brady obligations or that they

advised the prosecutor. On the contrary, the Complaint alleges they “suppress[ed]” this

information. Compl. ¶ 16 (ECF #1).3

       Third, the City Defendants assert Beckman “collected statements of two

independent witnesses.” City Memo. at 3 (ECF #48); id. at 7 (“two independent

witnesses”). The Complaint does not so allege. The source relied on by the City for this

assertion is not the Complaint, and in fact it does not even say that Beckman collected

statements of two independent witnesses. If the City wishes to rely on this alleged evidence,

it must conduct discovery and bring a motion for summary judgment. It cannot simply

move to dismiss.

       The City Defendants’ motion to dismiss should be denied because it depends upon

factual assertions contrary to the facts pleaded in the Complaint.




3
 The Proposed Amended Complaint alleges the City Defendants “knew that [the County]
had not disclosed this information, and they intentionally assisted [the County] in
suppressing the information.” Proposed Am. Compl. ¶ 20 (ECF # ).

                                             6
          CASE 0:21-cv-00990-ECT-LIB Doc. 65 Filed 09/24/21 Page 7 of 19




       II.    The City Defendants’ Arguments for Dismissal Lack Merit.

       Acknowledging that the City Defendants’ motion seeks to incorporate the

arguments for dismissal asserted by the County, see City Memo. at 5 (ECF #48), Plaintiff

similarly incorporates his arguments in opposition to the County’s motion (ECF # 37). This

memorandum will not repeat those arguments except incidentally, and will focus instead

on the new or unique arguments presented by the City Defendants in support of their own

motion.

              A. The City Defendants Are Not Entitled to Dismissal of Plaintiff’s
                 Federal Law Claims.

       The City Defendants’ attempts to dismiss Plaintiff’s federal law claims fail to meet

their burden of showing that Plaintiff could not recover a judgment against them even if

all the allegations in the Complaint are true.

                     1. Plaintiff Does Not Withdraw His Claims.

       The City Defendants first argue that Plaintiff no longer intends to pursue his First,

Second, and Seventh claims from the original Complaint. City Memo. at 4 (ECF #48).

This is incorrect; Plaintiff’s Proposed Amended Complaint seeks to eliminate the First

Claim from the original Complaint, but preserves and renumbers the Second Claim and

Seventh Claim. See ECF # 56-2 at 13, 17-18.

                     2. The Complaint Alleges Constitutional Violations.

       The City Defendants next argue Plaintiff failed to allege a constitutional violation.

City Memo. at 5. The Complaint alleges violations of Plaintiff’s constitutional Due

Process rights and the requirements of Brady v. Maryland. Further, the Proposed
                                                 7
         CASE 0:21-cv-00990-ECT-LIB Doc. 65 Filed 09/24/21 Page 8 of 19




Amended Complaint alleges the County admitted it violated Plaintiff’s constitutional

rights, when the County admitted a “manifest injustice” had occurred, agreed to the

release of Plaintiff from prison, moved for expungement of his record, and withdrew its

charges against him. See ECF # 56-1 ¶¶ 30-33. Both the Complaint and the Proposed

Amended Complaint allege the City participated in an intentional, longstanding wrongful

pattern and practice of concealing the information concerning Beckman’s misconduct. Id.

¶ 34. As more fully set forth in Plaintiff’s memorandum in opposition to the County’s

motion to dismiss, ECF # 37, the Complaint and Proposed Amended Complaint allege

constitutional violations by the Defendants.

                       3. The Complaint Alleges Material Suppression.

       The City Defendants next argue that the suppressed information about Beckman’s

misconduct was not “material.” City Memo. at 5 (ECF #48). The Complaint adequately

plead a “material” Brady violation because it alleges that Plaintiff’s conviction was

overturned and he was released from prison as a result of the Brady violation becoming

known. Compl. ¶ 16 (ECF #1), Proposed Am. Compl. ¶¶ 27, 30-33 (ECF # 56-1). The

County even admitted materiality, since it filed a dismissal of its case against Plaintiff

“for the following reasons: To correct a manifest injustice.” Proposed Am. Compl. ¶ 31.

Additionally, the Amended Complaint pleads that Plaintiff would never have been

charged with a crime at all, if information about Beckman’s misconduct had been

disclosed. Id. ¶ 27.



                                               8
         CASE 0:21-cv-00990-ECT-LIB Doc. 65 Filed 09/24/21 Page 9 of 19




       Evidence is material with respect to Brady “when there is a reasonable probability

that, had the evidence been disclosed, the result of the proceeding would have been

different.” Smith v. Cain, 565 U.S. 73, 75 (2012). Because Plaintiff pleaded that the result

of the proceeding was changed as a result of the disclosure of the information about

Beckman’s misconduct – the conviction was withdrawn and expunged – and that Plaintiff

would not have been convicted in the first place had the information been properly

disclosed, Plaintiff has clearly pleaded that the information was “material.”

       The City Defendants argue at length against materiality, citing other fact-intensive

cases. City Memo. 6-7. These cases miss the point. In U.S. v. Flores-Mireles, cited at

City Memo. 6, the suppressed information simply was not helpful to the defendant. 112

F.3d 337, 340-41 (8th Cir. 1997) (“Because no evidence associated with the informant

was favorable to the appellant, the Brady analysis simply does not apply . . . . this

evidence was not favorable to the appellant. In fact, to the contrary, the tapes were highly

incriminating . . . . The results were neither inculpatory nor exculpatory . . . . none of the

allegedly withheld or delayed release of information was favorable to appellant . . .”) The

proposition that Brady is not violated by failure to disclose information not favorable to

the accused is not relevant to this case, where the suppressed information was favorable

to Plaintiff.

       In the other cases cited by the City Defendants, courts were forced to predict what

“would have” happened in the absence of the suppression of the Brady information. U.S.

v. Sumner, 171 F.3d 636, 637 (8th Cir. 1999) (“would have been of little or no import”);
                                               9
        CASE 0:21-cv-00990-ECT-LIB Doc. 65 Filed 09/24/21 Page 10 of 19




U.S. v. Chappell, 990 F.3d 673, 678 (8th Cir. 2021) (“even if Chappell had blocked Ball’s

testimony, an acquittal seems unlikely”); U.S. v. Dones-Vargas, 936 F.3d 720, 723 (8th

Cir. 2019) (“Nondisclosure . . . does not undermine confidence in the jury’s verdict”);

U.S. v. Roberts, 848 F.2d 906, 907-08 (8th Cir. 1988) (“no reasonable probability that the

disclosure . . . would have affected the outcome”); U.S. v. Castellano-Benitez, 743 Fed.

App’x 715, 718 (8th Cir. 2018) (“we can be sure the trial resulted ‘in a verdict worthy of

confidence’”). These cases are not germane here, because in this case, as pleaded in the

Complaint, there is no need for prediction. We know that the outcome of the prosecution

would have been different because the outcome of the prosecution changed as a direct

result of the disclosure of the information about Beckman’s misconduct. Prior to

disclosure, Plaintiff was incarcerated, and after disclosure, Plaintiff was released and his

conviction was withdrawn and expunged.

       In view of the factual allegations pleaded in the Complaint, the Defendants cannot

rely on a materiality argument to claim no constitutional violation occurred.

                     4. Plaintiff Alleges a Conscious Effort to Suppress.

       The City Defendants argue that law enforcement officers face Brady liability

“only where there are allegations and evidence that unbeknownst to the prosecutor, law

enforcement ‘engaged in a conscious effort to suppress exculpatory evidence.’” City

Memo. at 7 (quoting Helmig v. Fowler, 828 F.3d 755, 762 (8th Cir. 2016)). What Helmig

actually states, though, is “recovery of § 1983 damages from a law enforcement officer

for a Brady violation requires the intentional or bad faith failure to disclose Brady
                                             10
        CASE 0:21-cv-00990-ECT-LIB Doc. 65 Filed 09/24/21 Page 11 of 19




evidence to the prosecutor or the defense,” 828 F.3d at 762, and § 1983 liability may

exist for officers who participate in a conspiracy to deprive the defendant of

constitutional rights, id. at 762-63. The Proposed Amended Complaint pleads exactly

this: that the Defendants participated in a conspiracy to deny Plaintiff’s constitutional

rights, ¶¶ 20, 34-35, specifically that the City Defendants knew of the County’s plan to

suppress information about Beckman’s misconduct and for months they “intentionally

assisted” the County in “suppressing the information.” Proposed Am. Compl. ¶¶ 16-17,

19-20 (ECF #56-1). Moreover, the City Defendants acknowledge that the Proposed

Amended Complaint pleads this, and that these allegations meet the standard of Helmig.

County Memo. at 7 (“While such allegations are being proposed in the amended

complaint . . .”) (ECF #48).

       The City Defendants next suggest they met “any minimal Brady obligations they

might have had,” citing an attachment to their Answer to the Complaint, ECF #17-1, and

White v. Moulder, 30 F.3d 80, 81-83 (8th Cir. 1994). City Memo. at 8. White held that

law enforcement officers did not act improperly when they disclosed information learned

during a specific investigation to the County Attorney, who then failed to disclose that

information in a prosecution brought directly as a result of that investigation. Id. at 82.

The Amended Complaint pleads far more egregious conduct – that the City Defendants

knew the information about Beckman’s misconduct for many months prior to the

beginning of their investigation of Plaintiff and intentionally participated in a long-



                                             11
        CASE 0:21-cv-00990-ECT-LIB Doc. 65 Filed 09/24/21 Page 12 of 19




running conspiracy with the County Attorney to suppress that information, which carried

over into the prosecution of Plaintiff.

       White, then, presents a quite different set of facts from the facts alleged in the

Proposed Amended Complaint in this case.4 The Proposed Amended Complaint pleads

that the City Defendants engaged in a “conscious effort to suppress exculpatory

evidence” (see City Memo. at 7) and it provides specific facts to support this allegation.

The Proposed Amended Complaint further alleges that the County Attorney did not

disclose the information about Beckman’s misconduct to his assistant county prosecutors.

¶ 17 (ECF #56-1) Under these circumstances, the City Defendants had an obligation of

their own to disclose the information to the assistant county prosecutors. The Proposed

Amended Complaint alleges that the County discontinued its policy of suppressing the

Brady information about Beckman as a result of one of the assistant county attorneys

learning the information, and it discontinued the prosecution of nineteen pending criminal

prosecutions at that time. Id. ¶ ¶ 25, 27. Accordingly, the Proposed Amended Complaint

pleads that Plaintiff would not have been prosecuted if the City Defendants had disclosed

the information about Beckman’s misconduct which they conspired to suppress. White is

not on point here.




4
  The initial Complaint alleges the City Defendants failed even to disclose information
known about Beckman’s misconduct to the prosecutor. Compl. ¶ 14 (ECF #1) Thus, if
the Complaint is not amended, the City Defendants’ argument for dismissal which
depends upon their alleged disclosure to the prosecutor must be rejected.
                                              12
        CASE 0:21-cv-00990-ECT-LIB Doc. 65 Filed 09/24/21 Page 13 of 19




                      5. No Qualified Immunity Applies to the City Defendants.

       The City Defendants cursorily suggest that Defendant Ferrell is entitled to

qualified immunity against Plaintiff’s claims, on the basis that Plaintiff’s constitutional

right that was violated was purportedly not clearly established. City Memo. at 8 (ECF #

48). However, the obligation of police officers to disclose Brady information was

recognized as well-established by multiple circuits in 2009. Moldowan v. City of Warren,

578 F.3d 351, 381 (6th Cir. 2009). In fact, it was so well-established that the Sixth Circuit

held that cities could be liable for failing to train their police officers regarding Brady

obligations. Id. at 393. It cannot be seriously maintained that Defendants’ Brady

obligations were not clearly established by 2017 – particularly where Plaintiff’s

conviction was withdrawn and expunged immediately upon his discovery of the

suppression of the information about Beckman’s misconduct during his prosecution.

              B. The Complaint Pleads a Monell Claim.

       The City Defendants also cursorily suggest the Complaint fails to plead a Monell

claim. City Memo. at 8-9. (ECF #48) The Proposed Amended Complaint, however,

pleads that the City Defendants participated in a months-long policy, encompassing at

least twenty-seven criminal prosecutions, of intentionally and wrongfully suppressing

information about Beckman’s misconduct, which led to the wrongful conviction of

Plaintiff which was withdrawn and expunged upon discovery of the manifest injustice

that had been committed. Proposed Am. Compl. ¶¶ 16-17, 19-20, 25, 28, 34 (ECF #56-1).

These allegations plead an admitted, ongoing constitutional violation which harmed

                                              13
        CASE 0:21-cv-00990-ECT-LIB Doc. 65 Filed 09/24/21 Page 14 of 19




Plaintiff; the City Defendant’s intentional participation in the wrongful conduct and

indifference to the wrong they were inflicting; and a longstanding history and pattern of

violations. The Complaint pleads a Monell claim.

              C. The Complaint Pleads State Law Claims.

       The state law tort claims against the City Defendants are well-pleaded and not

subject to dismissal. These claims are based on the wrongful imprisonment of Plaintiff

for nearly two years, which was terminated when the charges against him were

withdrawn and the conviction expunged, as a result of the admitted “manifest injustice”

inflicted upon him by the prosecution. The facts discussed above plead that Defendants

intentionally participated in the wrongful prosecution and imprisonment of Plaintiff,

thereby stating claims for wrongful imprisonment (Third Claim in Complaint, Second

Claim in Proposed Amended Complaint), intentional infliction of emotional distress

(Fifth Claim in Complaint, Third Claim in Proposed Amended Complaint), and aiding

and abetting the County’s torts committed against Plaintiff (Sixth Claim in Proposed

Amended Complaint).

       The City Defendants do not attempt to show that Plaintiff failed to plead the

elements of these claims. Rather, the City Defendants argue these claims are “barred by

common law official immunity and vicarious official immunity.” City Memo. 10.

Specifically, the City Defendants argue that “suppress[ing] exculpatory evidence” is

“discretionary conduct protected by immunity.” Id. This argument is doubly deficient. As

the City Defendants acknowledge, official immunity protects (1) exercises of

                                            14
        CASE 0:21-cv-00990-ECT-LIB Doc. 65 Filed 09/24/21 Page 15 of 19




“discretionary judgment” (2) unless the defendant committed a “willful or malicious

wrong.” The Complaint here alleges that neither of these elements are present.

       Ministerial Conduct. The claims in the Complaint do not allege the City

Defendants wrongfully exercised discretionary judgment, but that their wrongful conduct

was part of their ministerial, not discretionary, duties. “The critical distinction to be made

in an official immunity determination is whether the nature of the individual official’s

actions are discretionary or ministerial, because only discretionary decisions are immune

from suit.” Wiederholt v. City of Minneapolis, 581 N.W.2d 312, 315 (Minn. 1998).

Wiederholt held that official immunity did not protect an official’s conduct which

contravened obligations under a city ordinance, because the official had a ministerial

obligation to carry out the responsibility imposed by the ordinance. Id. “[P]ublic officials

clearly have a duty to adhere to ordinances and statutes.”

       Here, the City Defendants had obligations imposed by Brady which were

ministerial, not discretionary – there were obligated to disclose the information about

Beckman’s misconduct. The Complaint alleges that rather than carrying out that

ministerial obligation, they instead conspired to suppress the information. Accordingly,

the Complaint pleads claims based on ministerial conduct, not discretionary, and official

immunity is not available to the City Defendants.

       Willful and Malicious Conduct. The Complaint alleges willful and malicious

conduct by the City Defendants. “In the context of official immunity, willful and

malicious are synonymous” and malice means “nothing more than the intentional doing
                                              15
          CASE 0:21-cv-00990-ECT-LIB Doc. 65 Filed 09/24/21 Page 16 of 19




of a wrongful act without legal justification or excuse, or, otherwise stated, the willful

violation of a known right.” Carter v. Cole, 526 N.W.2d 209, 214 (Minn. Ct.

App.), aff’d, 539 N.W.2d 241 (Minn. 1995). “[I]ntentionally commit[ing] an act that he

or she then has reason to believe is prohibited” constitutes a willful or malicious wrong

by an official. Anderson v. Anoka Hennepin Indep. Sch. Dist. 11, 678 N.W.2d 651, 663

(Minn. 2004). Further, “Whether or not an officer acted maliciously or willfully is usually

a question of fact to be resolved by a jury.” Johnson v. Morris, 453 N.W.2d 31, 42 (Minn.

1990).

         Plaintiff’s Complaint alleges the City Defendants intentionally suppressed Brady

information. As law enforcement officers they knew (or were required to know5) their

obligations under Brady, so conspiring to suppress that information constituted

intentional commission of prohibited acts without legal justification. Suppression of the

information also violated Minn. R. Crim. P. 9.03 subd. 2(a), which requires disclosure of

exculpatory information to a defendant “in time to afford counsel the opportunity to make

beneficial use of it.” Plaintiff was entitled under Rule 9.03 to receive the information

about Beckman’s misconduct prior to the prosecution’s offer of a guilty plea, so that his

counsel could make beneficial use of it when evaluating the offer. Accordingly, the

Complaint pleads malicious and willful wrongful conduct by the City Defendants. If the




5
 As noted above, in Moldowan v. City of Warren, 578 F.3d 351 (6th Cir. 2009), the court
held that a city could be liable for failing to train law enforcement officers regarding
Brady obligations.
                                             16
          CASE 0:21-cv-00990-ECT-LIB Doc. 65 Filed 09/24/21 Page 17 of 19




City Defendants claim otherwise, Plaintiff is entitled to a jury’s determination on that

issue.

         Vicarious Immunity. The City seeks to shelter behind vicarious official immunity

purportedly derived from immunity of its employees. City Memo. 11. Vicarious

immunity does not exist where the individual officials lack immunity, Raymond for

Kelley v. Pine Cty. Sheriff’s Off., 915 N.W.2d 518, 527 (Minn. Ct. App. 2018), so (for the

reasons discussed above) vicarious immunity does not apply here. Moreover, even if an

individual official had immunity here, vicarious immunity for the City would not apply.

Vicarious immunity is not an “automatic grant,” Sletten v. Ramsey Cty., 675 N.W.2d 291,

300 (Minn. 2004), but rather is a “policy question for the court,” Schroeder v. St. Louis

Cty., 708 N.W.2d 497, 508 (Minn. 2006), to be granted “when failure to grant it would

focus ‘stifling attention’ on an official’s performance ‘to the serious detriment of that

performance.’” Id. The policy is intended to prevent “officials second-guessing

themselves when making decisions.” Anderson v. Anoka Hennepin Indep. Sch. Dist. 11,

678 N.W.2d 651, 664 (Minn. 2004).

         Vicarious immunity is not appropriate in this case, for the policy considerations

here all point the other direction. Holding the City liable for its law enforcement

personnel participating in a longstanding conspiracy to suppress Brady information that

affected at least twenty-seven criminal defendants, as the Complaint alleges, would not

result in harmful second-guessing or “stifling attention,” but it might prompt the City to

develop plainly necessary safeguards to prevent future reoccurrence of such blatant
                                              17
        CASE 0:21-cv-00990-ECT-LIB Doc. 65 Filed 09/24/21 Page 18 of 19




violations. The City should not benefit from vicarious official immunity to protect its

disregard for basic civil rights.

              D. The Proposed Amended Complaint Pleads Aiding and
                 Abetting.

       The City Defendants imply that Plaintiff’s proposed aiding and abetting claim

against them is somehow improper. City Memo. 10 n.4. The aiding and abetting claim

seeks to hold the City Defendants liable for their intentional participation in, and

assistance of, the torts inflicted upon Plaintiff by the County. The City Defendants offer

no argument to show this claim is subject to dismissal, and therefore it should not be

dismissed.

                                      CONCLUSION

       Defendants City of Cloquet and Carey Ferrell offer no argument that would permit

dismissal of Plaintiff’s Complaint or Proposed Amended Complaint on a Rule 12(b)(6)

motion. Rather, they offer factual assertions in reliance on sources outside the Complaint

and they disregard Plaintiff’s actual claims and theories pleaded in the Complaint. Their

Motion to Dismiss should be denied.




                                             18
     CASE 0:21-cv-00990-ECT-LIB Doc. 65 Filed 09/24/21 Page 19 of 19




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                                   19
